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                             AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR AN ARREST WARRANT

       I, Michaela Gneco, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the United States Secret Service and have been since

October 2017. I received formal training at the Federal Law Enforcement Training Center in

Glynco, Georgia, and the James J. Rowley Training Center for the U.S. Secret Service in

Beltsville, Maryland. Training included, among other things, the investigation of financial crimes

that included the following: identity theft, access device fraud, bank fraud, forgery and

counterfeit U.S. currency. I am currently assigned to the Boston Field Office. My current

assignment includes investigating violations of Title 18, United States Code, Sections 1028,

1028A, 1029, 1037, 1341, 1343, 1344, 1349, and 1956. Based on my training and experience, I

am familiar with the means by which individuals use computers and information networks to

commit various offenses, including financial and computer crimes.

       2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       3.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of federal law including Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349, Wire

Fraud, 18 U.S.C. § 1343, Aggravated Identity Theft, 18 U.S.C. § 1028A have been committed,

are being committed, and will be committed by at least three individuals: a Hispanic male known
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variously as “Samuel MACHUCA,” “Ithier Batista Rodriguez”, and “Angel Garcia Sanchez,”

along with Luiyi Taveras GARCIA, Abel Bier ROMERO, and others known and unknown.

                              AUTHORIZATION REQUESTED

       4.      This affidavit is being filed with the Court in support of criminal complaints

charging “Samuel MACHUCA,” AKA “Ithier Batista Rodriguez” AKA “Angel Garcia

Sanchez,” Luiyi Taveras GARCIA, Abel Bier ROMERO. In connection with the criminal

complaints, I am further requesting this Court issue warrants for the arrest of those individuals.

                                      PROBABLE CAUSE

                                   Summary of the Investigation

       5.      On November 4, 2020, Home Depot Loss Prevention Investigator Emily

DeMelo contacted Smithfield Police Sergeant Jay Corser regarding an apparent credit card

scheme targeting Home Depot. Sgt. Corser is a federal task force officer (TFO) with the

United States Secret Service. Investigator DeMelo advised TFO Corser that she has learned of

a scheme nearly identical to that of an earlier series of incidents targeting Home Depot

investigated by the Secret Service. In 2018, Sgt. Corser and agents of the United States Secret

Service had investigated a group committing a series of credit card frauds at Home Depot

locations. That investigation led to the arrest of several individuals for Access Device Fraud,

18 U.S.C. § 1029, and Aggravated Identity Theft, 18 U.S.C. §1028A. Investigator DeMelo

had assisted investigators during that case and was familiar with the patterns used by

organized groups to fraudulently obtain merchandise from Home Depot using stolen credit

cards numbers and stolen personally identifying information. According to DeMelo, the new

group of suspects were using Home Depot business charge accounts held by various

businesses. The men were ordering assorted merchandise including building materials and

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paying for the items using Home Depot “Pro” account numbers. According to Investigator

DeMelo, she has learned that Citibank, the financial institution that extends the credit and

manages the accounts for Home Depot cards, had reported a series of charge backs. Charge

backs are instances where a customer receives a bill and refutes the transaction.

       6.      Based upon my review of the Home Depot records provided, police reports and

conversations with investigators, I have learned that since November 2020, several individuals

have been fraudulently making purchases at area Home Depot stores using unauthorized Home

Depot store credit cards. Typically, the scheme is being carried out as follows: The Home Depot

customer service desk or “Pro desk” receives a call requesting a pick-up order be prepared. The

caller provides a list of materials and quantities desired. The “customer” then provides a name,

credit card number, security code, and phone number for the store to call when the order is ready.

The Home Depot employees then use the name and phone number provided to link the order to

an existing Home Depot Pro account. The caller provides the Home Depot employees with a

credit card number and security code to complete the purchase. When the pick-up order is ready,

the Home Depot employee calls the number provided and notifies the “customer” that the order

is ready. After Home Depot makes the notification, two or three individuals arrive at the store to

pick up the order at either the Home Depot Pro Desk or the customer service desk.

       7.      On some occasions, an individual assembled an order in-person with a Home

Depot employee for later pick up. The involved subject provided the Home Depot employee

with a phone number to contact for payment details.

                                    Regarding RI Tag PA-997

       8.      On Friday, November 6, 2020, Investigator DeMelo called Sgt. Corser and

advised him that the same suspects that had been involved with the recent credit card fraud

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incidents (charge backs) at the Smithfield store were again at the Smithfield store attempting

to purchase building materials. I am aware that Investigator DeMelo had reviewed

surveillance images of several of the involved charge back transactions and was familiar with

the appearance of the involved suspects. Investigator DeMelo told Sgt. Corser that her sales

associate had denied this transaction. She reported that the suspects had left the area in in a

white dump truck bearing RI passenger registration PA-997. Sgt. Corser conducted a

registration check which revealed the plate had expired in August 2020 and was supposed to

be displayed on a 2007 Dodge Caliber registered to Yunior Llano Toribio, DOB 5/5/97.

Toribio had addresses listed at 37 Magdalene Street, Providence, and 440 Park Avenue,

Cranston.

       9.      On Friday, November 20, 2020. Sgt. Corser received an email from

Investigator DeMelo that listed two account numbers for Home Depot credit cards that she had

determined to be cards opened using fraudulent information. Investigator DeMelo also

provided two digital receipts showing all transactions from these two fraudulent accounts that

totaled over $126,000. The sales occurred between 9/20/20 and 11/11/20. These transactions

occurred at Home Depot Stores located in Massachusetts, Rhode Island, and New Hampshire.

The purchases typically were between $3,000 and $5,000. Several of the transactions were

conducted by a group of individuals unidentified at the time, operating a white dump truck

displaying Rhode Island passenger plate PA-977.

       10.     On December 1, 2020, a Massachusetts State Trooper stopped a white Ford

dump truck displaying a Rhode Island passenger plate, PA-977 on Interstate 90 in Weston,

Massachusetts. The truck was operated by Adelso Gutierrez. The truck was carrying sheet

rock. Gutierrez reported that the truck belonged to Yunior Toribio who was doing business as

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LTG Friends Construction of 37 Magdalene Street Providence, Rhode Island. The truck was

unregistered.

       11.      Sgt. Corser and I have reviewed various reports accessed through the Rhode

Island cross-agency reporting system, Rhode Island Law Enforcement Telecommunications

system and reports provided by the Massachusetts State Police Commercial Enforcement Unit

related to Rhode Island passenger registration PA-997. Those inquiries have revealed that the

plate has been observed by Rhode Island State Police on November 11, 2020 on a white Ford

work van bearing the words “LTG Friends Construction” parked in the area of 440 Park Avenue,

Cranston, Rhode Island. The van has reportedly displayed the phone numbers 401-601-0294 and

401-523-4287 on the rear door panels. Members of the investigative team have conducted

physical surveillance of both the Magdalene Street and Park Avenue addresses. Both the white

dump truck and the white van have been observed parked in front of or in the vicinity of 440

Park Avenue in Cranston, Rhode Island.

       12.      I have researched 440 Park Avenue Cranston, Rhode Island and I have

learned this address is currently owned by a Hector Santana. According to public tax records,

the residence was sold to Santana by Lesli Construction LLC in February of 2020. Lesli

Construction LLC was registered with the Rhode Island Secretary of State before its corporate

charter was revoked on June 3, 2020. The public record lists an address of 194 Eastwood

Avenue, Providence, Rhode Island. The agent and manager are both listed as Lesli Llano.

       13.      On Thursday, November 26, 2020 at approximately 8:40 am, Sgt. Corser drove

past 440 Park Avenue, Cranston and observed a work van with RI reg. PA-997 displayed on

the rear door. The vehicle had signs on it for "LTG Friends Construction" displayed on the



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sides and rear of the van. Sgt. Corser took digital photos of the vehicle and the registration

plate PA-997 attached to the van.

       14.     Investigators have inquired into public records databases including the Rhode

Island Secretary of State Corporations Division, the Massachusetts Secretary of State

Corporations Division and the Rhode Island Department of Business Regulation, Contractors

Registration Board. Members of the prosecution team have also conducted an internet browser

inquiry using the search term LTG Friends Construction. I have learned that LTG Construction

is listed with the Rhode Island Contractor’s Registration Board. The owner is listed as Lesli

Llano. LTG Friends Construction is registered with the Massachusetts Secretary of State. The

public record lists an address of 20 Main Street, Apartment 2, Milford, Massachusetts. The

agent and officer for the corporation is Luiyi A. Taveras GARCIA. LTG Friends Construction

was cited by the Occupational Health and Safety Administration (OSHA) on March 13, 2019 for

safety related offenses at a building site in Rhode Island. OSHA cited LTG Friends Construction

on August 26, 2019 for safety violations at a building site in Hyannis, Massachusetts.

       15.     On April 9, 2021, Investigator DeMelo notified the USSS that earlier in the day a

suspicious order had been placed and was scheduled for pickup later in the day. The U.S. Secret

Service established a physical surveillance at 1100 Newport Avenue South Attleboro,

Massachusetts, the Home Depot where the materials were to be picked up. Investigator DeMelo

reported that an unknown individual had placed an order (number H2659-172305) totaling

$2,605.93. The caller told Home Depot the order would be picked up during the day. At or

around 1554 hours, USSS agents observed a white Ford dump truck with Rhode Island tag 41617

arriving at the Home Depot location. Based in part on an arrest report provided to investigators



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by the Johnston Police Department 1, and Home Depot’s asset protection specialist, DeMelo,

agents were able to identify the individual operating the truck as “Angel Garcia SANCHEZ”

(aka “Ithier Rodriguez” aka Samuel MACHUCA 2). Investigators observed MACHUCA as he

entered the store with an unidentified male while talking on his cell phone. MACHUCA later

exited the store while talking on his cell phone and drove away in the white dump truck without

any Home Depot materials loaded in the vehicle. I conducted an inquiry into the registration

plate displayed on the white Ford dump truck and learned that the plate was registered to Jose A.

Serrano Narragansett Street Cranston, Rhode Island. Registry of Motor Vehicles records reflect

the vehicle was registered March 5, 2021. The Registry of Motor Vehicle’s lists a vehicle

identification number different from that listed on the Ford dump truck stopped by the

Massachusetts State Police.

         16.      According to information provided by Investigator Demelo, due to the credit card

information having been “flagged” as fraudulently obtained, the order had been cancelled by

Home Depot employees prior to MACHUCA’s arrival. The name and phone number provided

for the order was S.R. 3 and xxx-xxx-2674. The card number provided was xxxx-xxxx-xxxx-

0009. Law enforcement database searches conducted confirmed that the suspects submitted

S.R.’s PII and that S.R. is an actual individual who lives in the state of Massachusetts.




1
 MACHUCA was arrested as “Ithier Batista Rodriguez” by Johnston Police Department on March 8, 2021, as
discussed later in this affidavit.
2
 The names “Sanchez” and “Rodriguez”, among others, were discovered by law enforcement to be aliases for a
Samuel MACHUCA, as discussed further in this affidavit.
3
 Law enforcement later discovered that S.R. is a victim’s true name, as discussed further in paragraph 16 of this
affidavit.

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       17.     On April 15, 2021, I spoke with S.R. over the phone and asked if he had

previously or recently been a victim of identity theft or credit card fraud. S.R. stated that on April

6, 2021 at approximately 1630 hours, he received a call that appeared to come from his own cell

phone number. Upon answering the call, he stated that a male with a mild Spanish accent on the

other end identified himself as from “Verizon,” and asked if S.R. was attempting to ship a

package to an individual in Jacksonville, Florida. S.R. stated that he was not, the male proceeded

to inform S.R. that his account had been compromised somehow, and that the call would be

connected to the fraud department at “Verizon”. S.R. stated to me that throughout the duration of

the 45-minute phone call, he was placed on hold several times and that the male on the line

continued to say that his “computer was frozen” and that he would “get his supervisor to send

[S.R.] a code to protect you.” S.R. stated that during the phone call, he received three text

messages containing “codes,” which he provided so that the purported employee on the phone

could “verify” S.R.’s identity.

       18.     S.R. stated that after speaking with TFO Corser who had originally contacted S.R.

on or around April 12, 2021 regarding the compromise of his information, S.R. attempted to call

Citi Bank to access his current account and was told that there was an additional credit card

opened in his name. S.R. was told that it was being closed at that time, due to the reports of

fraudulent transactions. S.R. provided me with screenshots of the text messages for review. The

first text message was sent at 1659 hours and stated, “Citi Identification Code Service 27175977

Reply HELP for help STOP to cancel. Msg&Data rates may apply”. The second text message

was sent at 1701 hours and stated, “Click https://crs.registermycc[dot]com/t/oMYhMADM to

access your new Home Depot Consumer Credit Card. Reply STOP to cancel. Msg & Data Rates

May Apply.” The third text message was sent at 1719 hours and stated, “ID Code: 33979 To

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complete credit app. We wont contact you for the code. Call 888-908-0031 if you didn’t request

it (TTY 888-824-2323).”

       19.     On April 27, 2021, Investigator DeMelo informed investigators that Samuel

MACHUCA aka “Angel Garcia SANCHEZ” aka “Ithier Rodriguez” had been in the Home

Depot located in South Attleboro, Massachusetts. Investigator DeMelo reported that

MACHUCA assembled an order of materials (order number H2659-174249) to pick up at a later

time. Investigator DeMelo stated the order was placed using a Home Depot credit card ending in

9871. The name provided was “Angel Garcia Sanchez” of “angel carpentry.” The would-be

buyer provided phone number 774-707-7518. The order consisted of roofing materials and

shingles and totaled $4,945.18. The “Angel Garcia Sanchez” Home Depot Pro account had been

activated on April 21, 2021. The applicant provided an address of 133 Pine St, Attleboro, MA

02703, and email address of elviajero0326@gmail.com.

       20.     On April 29, 2021, USSS agents surveilled the Home Depot located at 1100

Newport Avenue in South Attleboro, Massachusetts. At approximately 0946 hours, Investigator

DeMelo informed me that she would be making a phone call to Samuel MACHUCA aka “Angel

Garcia Sanchez” to remind him that order H2659-174249 was ready for pick up. Investigator

DeMelo consented to the phone call being recorded. DeMelo has, on several separate occasions,

spoken with MACHUCA in person at various Home Depot locations due to the nature of her

position, as well as over the phone, calling MACHUCA via 774-707-7518 to communicate order

pick-ups. Investigator DeMelo called the phone number provided for the order and a male voice

answered the call. At the conclusion of the call, DeMelo positively identified the voice on the

other end of the line as Samuel MACHUCA.



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       21.      On April 29, 2021, at approximately 10:19am, USSS agents observed a white

Ford dump truck bearing the Rhode Island tag 41617 arrive at the Home Depot. The dump truck

was accompanied by a silver blue Honda Odyssey displaying Rhode Island registration OC-268.

Samuel MACHUCA was identified by USSS agents as the operator of the Honda Odyssey. He

was wearing a neon green vest with the words “Loyalty Roofing Solutions” and the phone

number “508-733-0837” on the back. MACHUCA and an unidentified male operating the white

Ford Dump Truck were observed entering the Home Depot on foot via the Pro entrance. Around

the time of their arrival, Investigator DeMelo contacted me stating that a third male identified as

Luiyi Taveras GARCIA had also arrived at the store location and interacted with MACHUCA

and the unidentified male inside the store. I am aware that Luiyi Taveras GARCIA is the

president and agent of LTG Friends Construction. The order was loaded into the white Ford

dump truck by Home Depot employees, under the direction of MACHUCA. MACHUCA, Luiyi

Taveras GARCIA, and the unidentified male then left the parking lot. At approximately

11:25am, USSS agents observed both vehicles arrive at the residence of 126 Bracken Street in

Cranston, Rhode Island, where the materials were unloaded into a detached, multi-car garage at

the back of the property. I am aware that 126 Bracken Street Cranston, Rhode Island is a three-

family residence, currently owned by Ana Fernandez.

       22.      I reviewed the records provided by Home Depot regarding the above order and

learned that eight orders were made, utilizing the same name, phone number, and email address

as the above-described order. Each order was paid for utilizing a different Home Depot store

credit cards.




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                                      Luiyi Taveras GARCIA

       23.     Luiyi Taveras GARCIA, DOB XX/XX/1987 is a citizen of the Dominican

Republic and is known by law enforcement to reside at 440 Park Avenue, in Cranston, Rhode

Island. Law enforcement database searches of Luiyi Taveras GARCIA have revealed previous

charges of possession to distribute a Class A drug, controlled substance conspiracy,

manufacturing, possession, and delivering cocaine, and breaking and entering of a residence and

unlicensed operation of a motor vehicle. GARCIA appears to operate the business “LTG Friends

Construction” with Lesli Llano from 440 Park Avenue Cranston. Law enforcement surveillance

has established this address is a residence. Investigators have observed multiple work vehicles

parked in and around the residence bearing signs stating “LTG Friends Construction” along with

GARCIA’s and Llano’s phone numbers listed. Luiyi Taveras GARCIA has been observed by

Investigator DeMelo and Home Depot surveillance footage later reviewed by me and TFO

Corser on multiple occasions involved in the pick-up, delivery, and unloading of the fraudulently

obtained construction materials from Home Depot, as discussed later in this affidavit.

                                       Abel Bier ROMERO

       24.     I have queried Rhode Island passenger registration plate, OC-268. Rhode Island

Registry of Motor Vehicles reports that the plate belongs on a 2006 Honda Odyssey registered to

Abel Bier ROMERO, DOB XX/XX/1993. I have learned that ROMERO is a citizen of the

Dominican Republic. He lists his residential address as 575 Dyer Ave, E-111 in Cranston,

Rhode Island. Law enforcement database searches of ROMERO have revealed previous charges

of speeding, shoplifting, conspiracy to commit a crime outside of Rhode Island, manufacturing,

possession, and delivering a schedule I/II controlled substance, and obstructing an officer in the

execution of duty. Abel Bier ROMERO has been observed by Investigator DeMelo and Home

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Depot surveillance footage later reviewed by me and TFO Corser as involved in the pick-up,

delivery, and unloading of the fraudulently obtained construction materials from Home Depot.

Investigators have noted that the blue Honda Odyssey with Rhode Island tag OC-268 has been

operated by MACHUCA on numerous occasions.

                                       Samuel MACHUCA

       25.     Samuel MACHUCA, DOB XX/XX/1967 is a citizen of the Dominican Republic

and is known to law enforcement by a number of aliases. Most recently, MACHUCA has used

the names “Ithier Rodriguez”, “Ithier Batista”, and “Angel Garcia Sanchez” in his interactions

with law enforcement, financial institutions, and area stores and has provided driver’s licenses

and other forms of identification supporting his various aliases. Law enforcement database

searches of MACHUCA have revealed previous charges, to include trafficking cocaine,

possession to distribute a Class B drug, among other charges. Law enforcement database

searches also reveal that MACHUCA entered the United States on March 3, 2000. MACHUCA

has provided several addresses as residences for his respective aliases and has been observed by

law enforcement to be residing at 149-151 Althea Street in Providence, RI.

       26.     On December 26, 2020, TextNow provided records responsive to a grand jury

subpoena the U.S. Secret Service served upon them, seeking records related to the phone

numbers provided to Home Depot to conduct the fraudulent payment transactions. Those

records included multiple calls to phone number 857-419-9056. The U.S. Secret Service then

served a subpoena upon T-Mobile for the subscriber information of phone number ending in

9056 and the records revealed the subscriber as Ithier Batista, with an address of 193 Night Ave

in Attleboro, MA. Sgt. Corser then conducted an inquiry into Ithier Batista. On March 9, 2021,

Sgt. Corser queried the Rhode Island Cross-Agency records system and learned that Batista’s full

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provided name was Ithier Batista Rodriguez, and that the Johnston Police had arrested Batista

Rodriguez the previous day. Sgt. Corser secured a copy of the Johnston Police report concerning

this arrest. Sgt. Corser learned that the arrest related to a shoplifting allegation made by the

Home Depot in Johnston. Sgt. Corser secured a copy of Home Depot’s internal report

concerning the incident.

       27.     Sgt. Corser obtained surveillance footage and still photos of "Batista Rodriguez"

recorded during the attempted shoplifting incident and immediately recognized "Batista

Rodriguez" as an individual I had seen on numerous surveillance recordings provided by Home

Depot related to fraudulent transactions linked to the group. Sgt. Corser noted that Batista

Rodriguez" was wearing the same dark blue baseball hat, bandana, and Adidas sneakers that he

wore in several of the earlier videos.

       28.     On March 10, 2021, Smithfield Police dispatch ran a criminal history check of

Ithier Batista Rodriguez. That check revealed that Ithier Batista had numerous law enforcement

contacts. During those contacts Ithier Batista provided numerous aliases. The inquiry revealed

that there were multiple active outstanding warrants for Ithier Batista under aliases. Batista

Rodriguez provided fictitious information to police during processing and fingerprinting. All

arrests were linked by fingerprint submissions to the FBI when "Batista Rodriguez" was

processed through AFIS, showing "Ithier Batista Rodriguez" was the same individual as Samuel

MACHUCA, DOB 5/7/67, along with numerous aliases including Andres Cabrera, Jose Deleon,

Juan Pacheco, Jorge Quinones, Carlos Rodriguez, John Rodriguez, and Andre Torres.

       29.     As described above, the police report provided by Johnston Police Department,

states that on March 8, 2021, the Johnston Police responded to Home Depot in their town for a

report of a shoplifting. The police located and charged “Ithier Batista Rodriguez.” According to

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the report and a review of Home Depot surveillance footage, MACHUCA “Ithier Batista

Rodriguez” arrived at the Home Depot location operating a Blue Honda Odyssey with Rhode

Island tag OC-268. Luiyi Taveras GARCIA also arrived operating a white Ford dump truck with

a magnetic sign on the driver’s side door bearing the words “PAPOLO” on the side with an

indiscernible phone number printed below. GARCIA proceeded to load up the white dump truck

with an order later identified by Home Depot as purchased with a fraudulently obtained Home

Depot store credit card. GARCIA went back into the store. The asset protection specialist on-

scene then observed MACHUCA and GARCIA load up siding materials into a cart. A short time

later, MACHUCA was seen walking past the point of purchase with the siding materials without

making any attempt to legitimately purchase them. The asset protection specialist confronted

MACHUCA in front of the store, and after a brief conversation, the stolen items were recovered

and MACHUCA began running away from the store. Johnston officers responded to the Home

Depot and while searching the vicinity, apprehend MACHUCA. According to the Police report

MACHUCA stated, “Please don’t arrest me, I left the stuff outside the store.” Home Depot’s

asset protection specialist positively identified him as the suspect who had attempted to leave the

store with building materials. MACHUCA was subsequently charged with Shoplifting and was

issued a no trespass notice from the Home Depot in Johnston, Rhode Island.

       30.     As referenced above, TFO Corser and I were able to identify a number of

MACHUCA’s aliases, to include “Ithier Rodriguez”, and “Ithier Batista”, among others.

According to law enforcement observation, surveillance video and photos provided by Home

Depot, MACHUCA has driven a large U-Haul on a number of occasions to Home Depot to pick

up large quantities of fraudulently obtained building materials and supplies. U-Haul was able to

provide TFO Corser and myself with records regarding the observed U-Haul rentals on June 4,

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2021. On such occasions, MACHUCA has provided U-Haul with a Rhode Island state driver’s

license, as well as payment information in the name of a “Ithier Rodriguez”. Furthermore, Ithier

Rodriguez provided U-Haul with a telephone number of 857-419-9056. During his March 2021

arrest by the Johnston Police, Ithier Rodriguez provided his telephone number as 857-419-9056.

I caused a subpoena to be served upon T-Mobile for records related to this number. T-Mobile

records received responsive to the subpoena list the subscriber of that number as Ithier Batista

193 Night Street Attleboro, Massachusetts. Records obtained via subpoena from T-Mobile for

the Target Telephone number list the subscriber as Ashley Mendoza 193 Night Street Attleboro,

Massachusetts.

       31.     MACHUCA has also used the alias “Angel Garcia Sanchez” when placing orders

at Home Depot using fraudulently obtained store credit cards. MACHUCA has a Massachusetts

state driver’s license in the name of “Garcia.” I have served grand jury subpoenas upon several

financial institutions seeking account records in the name Garcia-Sanchez. Based upon my

review of those records I have learned that Garcia-Sanchez has used the Massachusetts driver’s

license to open several bank accounts including accounts at Navigant Credit Union, Wells Fargo

Bank, TD Bank, JP Morgan Chase Bank, utilizing the name Garcia-Sanchez and the same

driver’s license containing the same personal information. A review of those bank records has

revealed that suspected fraudulent unemployment payments have been routed into several of

those accounts. Based upon my conversations with Home Depot Loss Prevention and my

review of records, I know that MACHUCA has also utilized the name Angel Garcia Sanchez to

place orders at Home Depot. On those occasions he has provided the phone number of 774-707-

7518 and an email address of elviajero0326@gmail.com.



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              Additional Activity relating to MACHUCA, GARCIA, and ROMERO

       32.     On October 20, 2020, a transaction identified by Investigator DeMelo as

fraudulent occurred at approximately 8:53pm in the Home Depot store located in Smithfield, RI.

The order (number H4282-101586) was placed under the name "Cristian Castro", with a

provided phone number of 413-400-9577 and email address of

ramirezinversiones25@yopmail.com. The order consisted of various plumbing and building

materials, to include cabinets, multiple light fixtures, smoke alarms, and more, totaling

$3,730.84, paid for utilizing Home Depot store credit card ending in 3995. I reviewed the video

surveillance footage provided by Home Depot and observed Samuel MACHUCA and Abel Bier

ROMERO standing at the cashier while the order was being processed.

       33.     According to records provided by TextNow, the phone number of 413-400-9577

was subscribed to the TextNow username "ramirezinversiones25" from October 20, 2020 at

5:56pm to November 10, 2020. The account was registered on the same day, using the email

address ramirezinversiones25@yopmail.com. The call records provided indicate that on October

20, 2020 at 8:55pm, a call was placed from the Smithfield store phone number of 401-233-4204

to the TextNow subscriber that lasted 154 seconds.

       34.     I caused a subpoena to be served to Citibank for the Home Depot store credit card

ending in 3995. A review of the records revealed that the credit card was registered to N.L of

Waterloo, NY. On September 29, 2020, two calls were made to Citibank by a Spanish-speaking

male claiming to be N.L. First, inquiring as to what phone number was linked to the account, and

secondly to gain the ability to access the account and receive a new credit card for the account

ending in 3995. On October 25, 2020, the legitimate N.L. spoke with Citibank representatives

who communicated that his card “was not cancelled properly”. N.L. stated that he had been

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working with someone from Home Depot regarding the fraudulent transactions and wished to

proceed with the closing of his card.

        35.      On October 27, 2020, a fraudulent transaction occurred in the Home Depot store

located in Natick, MA. The order (H2669-213824) totaling $3,393.67 was placed under the name

"Juan Ramirez", with a provided phone number of 978-447-9934, utilizing Home Depot store

credit card ending in 7126. The email address provided for the Home Depot Pro account was

ramirezinversiones4@yopmail.com. I reviewed the video surveillance footage provided by

Home Depot and observed the white Ford dump truck with RI tag PA-997 belonging to LTG

Friends Construction parked in the Contractor pick-up area with Gutierrez and three unidentified

males conducting the transaction. I observed a Home Depot employee on the phone at the

register with Gutierrez and an unidentified male, and later observed the loading the materials into

the vehicle with the assistance of a few Home Depot employees.

        36.      According to records provided by TextNow, the phone number 978-447-9934 was

subscribed to username "ramirezinversiones4" from October 27 to November 21, 2020. The call

records provided indicate that on October 27, 2020 at 10:13am, a message was received from

401-601-0294 4. At 10:14am, a call was made to 401-601-0294. At 11:57am, a call was received

from the Natick Home Depot Store phone number and lasted for 205 seconds. Based on the time

that Gutierrez and the unidentified men were in the Home Depot store, as well as the footage

provided by Home Depot, I have been able to conclude that it was during this phone call that the

fraudulent credit card number and payment information was likely communicated from an




4
  The phone number 401-601-0294 was discussed earlier in this affidavit where it was identified as a listed number
for LTG Friends Construction.

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unidentified individual, to the Home Depot employee at the register. Further, the use of the LTG

telephone number further implicates GARCIA in the overall conspiracy.

       37.      According to records provided by Citi Bank, the card ending in 7126 belonged to

a victim identified as O.B. from Ohio. On October 27, 2020, O.C. spoke with Citi Bank

representatives and identified the above-described Home Depot purchase as fraudulent and

unauthorized.

       38.      On December 8, 2020, USSS agents conducted a surveillance of 440 Park Ave in

Cranston, RI and the white Ford dump truck originally bearing RI tag PA-997 and identified as

belonging to LTG Friends Construction. USSS agents observed the target vehicle parked in the

vicinity of 440 Park Ave, with a temporary Texas tag, as well as a white Chevy van with RI tag

PA-997, and a black GMC pickup truck with an LTG Friends Construction sign on the back. At

approximately 3:15pm, the white Ford dump truck with three occupants was observed by agents

arriving at the Home Depot location in Mansfield, MA. Three Hispanic men were observed

gathering fencing materials and speaking on the phone and via video chat to show an

unidentified individual the products being purchased. At approximately 5:30pm, the three men

left the Mansfield Home Depot location with the white Ford dump truck and traveled to the

vicinity of 16 Oakcrest Drive in North Providence, RI. USSS agents observed the black GMC

pickup truck parked on the street in the vicinity of the residence. The white Ford dump truck was

observed leaving the vicinity without the fencing supplies from Home Depot, and arriving

shortly thereafter at 23 Massie Ave in Providence, RI, where the vehicle was parked and the

occupants entered a black SUV operated by an unidentified individual and drove away.

       39.      I received the records of the fraudulent transaction from Home Depot. The order

(number H2609-121613) totaling $3,340.39 was placed under the name “Miguel Ramirez” with

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the provided phone number of 978-719-7853 and email address of

ramirezinversiones22@yopmail.com and was paid for using Home Depot store credit card

ending in 0591. I reviewed the records provided by TextNow for the phone number ending in

7853 and learned that it was subscribed to the username “ramirezinversiones22” from December

7, 2020 to January 1, 2021. At 3:46pm and 3:48pm, two phone calls were placed to this number

from the Mansfield Home Depot store phone number 508-337-2050 that lasted nine seconds

each. At 3:49pm, the phone number 401-678-2102 5 called this phone number as well. Beginning

at 3:50pm, four more phone calls were placed to this number from the Mansfield Home Depot

store phone number.

        40.      According to records provided by Citi Bank, the card ending in 0591 belonged to

a victim identified as J.C. of South Park, PA. On December 9, 2020, J.C. flagged the Mansfield

Home Depot transaction as fraudulent, and Citi Bank listed his card as “lost/stolen”, and reissued

J.C. a new credit card.

        41.      According to records provided by U-Haul, on December 15, 2020 at

approximately 11:12 am, a 15' moving van with a ID number of "DC 3126 F" on the side corner

was rented by an Abel Bier ROMERO from U-Haul's 464 Broad Street location in Providence,

RI. The phone number 401-678-2102 was provided.

        42.      Later that day, Investigator DeMelo identified a fraudulent transaction. The

transaction occurred at approximately 2:53pm in the Home Depot store located in Norwood,

MA. The order (number H2681-144345) was placed under the name "Jose Garcia" with a phone

number of 978-586-2718 and email address of ramirezinversiones17@yopmail.com. The order


5
  As discussed in paragraph 69 of this affidavit, based on this investigation I have come to learn that ROMERO has
regularly stated his phone number as 401-678-2102 to include instances of renting U-Haul vehicles.

                                                        19
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consisted of 72 bundles of Pewter Gray roofing shingles and three 1 1/2 inch roofing coil,

totaling $2,034.39 and was paid for utilizing Home Depot store credit card ending in 7351.

       43.     I reviewed the video surveillance footage provided by Home Depot relating to

order H2681-144345 and observed the U-Haul truck with ID "DC 3126 F" on the side corner,

parked in the Contractor pick-up area with one male in the driver's seat. I observed an

unidentified male and a male identified by law enforcement as Darien Felix wearing a black

sweatshirt with the letters "NBA" on the front, at the cashier's desk, with the first male standing

with a cell phone in his hand as the Home Depot cashier appeared to call a phone number

utilizing the store phone. The two individuals are then seen exiting the store carrying materials,

while the unidentified driver re-positions the U-Haul van for a Home Depot employee to load the

shingles into the back.

       44.     According to the U-Haul rental contract, the van with ID "DC 3126 F" was

returned the next day on December 16, at 8:35am, to the U-Haul located at 464 Broad Street in

Providence, RI. The contract states that the van had traveled approximately 138 miles for the

duration of the rental period.

       45.     According to records provided by TextNow, the phone number of 978-586-2718

was subscribed to the username "ramirezinversiones17" from December 7, 2020 to January 1,

2021. The account had been registered using the email address

ramirezinversiones17@yopmail.com. The call records provided indicate that on December 15,

2020 at 2:53pm, a call was placed from the Norwood store phone number of 781-762-9270 to the

TextNow subscriber that lasted 287 seconds.




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       46.     On January 9, 2021, at approximately 1:51pm, a 15' U-Haul moving van with an

ID number of "DC 1024 D" on the side corner was rented by an Abel Bier ROMERO from the

location on 464 Broad St, in Providence, RI. The phone number 401-678-2102 was provided.

       47.     Later that day, Investigator DeMelo identified a fraudulent transaction that had

occurred at approximately 6:09pm in the Home Depot store located in Johnston, RI. The order

was made in person utilizing a physical credit card ending in 4865 and totaled $2,894.14. I

reviewed the video surveillance footage provided by Home Depot and observed a U-Haul

moving van parked in the Contractor pick-up area, and ROMERO leaving the driver's seat. I also

observed an unidentified male in the store with building materials at the check-out with

MACHUCA, as MACHUCA manipulated his cell phone until an image appeared which he

zoomed in on before walking away from the cashier's counter. MACHUCA re-enters the video

peripheral shortly thereafter and showed the photo to the Home Depot employee at the register.

A few minutes later, MACHUCA is seen using a physical Home Depot store credit card at the

payment terminal. I observed MACHUCA and the unidentified male approach the U-Haul

parked outside, and ROMERO exiting the driver’s side of the van.

       48.     Investigator DeMelo alerted the USSS that she had discovered yet another

fraudulent transaction using the same card ending in 4865. This transaction occurred on January

11, 2021, at approximately 11:03am in the Home Depot Store located in Johnston, RI. The order

totaling $972.68 and paid for using card ending in 4865 consisted of insulation, doors, and

plumbing materials. I reviewed the Home Depot video surveillance footage and observed

MACHUCA, as well as GARCIA wearing an LTG Friends Construction shirt, loading up the

materials onto carts. I also observed GARCIA stand at the register with MACHUCA as



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MACHUCA conducted the transaction. I am aware and have confirmed with Citi Bank that

credit card ending in 4865 was closed by Citi Bank for fraud in January of 2021.

       49.     Investigator DeMelo has alerted the USSS to yet another fraudulent transaction

involving the suspects. This transaction occurred on June 11, 2021, at approximately 7:54pm at

the Home Depot located in South Attleboro. The order was made in person and was paid for

utilizing Home Depot store credit card ending in 4329. I reviewed the video surveillance footage

provided by Home Depot and observed MACHUCA along with two unidentified males in a

truck with the partial logo of "Adiel Cleaning" visible in the video frame. I am aware that credit

card ending in 4329 was closed by Citi Bank for fraud in July of 2021.

       50.     I have inquired into public records databases including the Rhode Island Secretary

of State Corporations Division. I have learned that Adiel Cleaning and Car Wash LLC was

registered on February 25, 2021 with the resident agent, manager, and authorized signer listed as

Abel Bier ROMERO. The address of its principal office is listed as 23 Massie Ave in

Providence, RI.

       51.     On June 11, 2021, U.S. Magistrate Judge Sullivan signed a GPS tracking warrant

and a Pen Register Trap and Trace Order which were served to T-Mobile for phone number 774-

707-7518. On June 17, 2021 at approximately 11:50am, I received GPS coordinates indicating

that the target phone was within 16 meters of the U-Haul location located at 464 Broad Street, in

Providence, RI.

       52.     On July 30, 2021, TFO Corser contacted U-Haul and requested records relating to

rentals originating from the 464 Broad Street location on June 17, 2021. In response to that

request, the investigative team received records related to the rental of a 20’ moving van with the

identifying number TT8138E. The vehicle was rented by Ithier Batista aka “MACHUCA.

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“MACHUCA” provided U-Haul a telephone number of (857) 205-1613 and an email address of

mjack8573@gmail.com. The records reflect the vehicle was rented to MACHUCA from 11:56

a.m. to 7:00 p.m. The email address mjack8573@gmail.com has been used in furtherance of two

fraudulent transactions at Home Depot since January 2021 through May 13, 2021.

        53.      On June 17, 2021 at approximately 12:50pm, I received GPS coordinates

indicating that the target phone was within 46 meters of the Home Depot located in Taunton,

MA. I contacted Investigator DeMelo, who informed me that she was able to see MACHUCA

with a U-Haul truck on the store premises, picking up an order. The order (number H2677-

98822) was placed under the name "Dennis Bynum", with a provided phone number of 978-533-

5510 6. The order was paid for using card ending in 4622 and consisted of roofing materials and

72 bundles of Timberline HDZ Pewter Gray shingles. I reviewed the video surveillance footage

provided by Home Depot and observed MACHUCA wearing a neon green vest with the words

“Loyalty Roofing Solutions” on the back, conducting the transaction and directing the Home

Depot employees assisting to load the three pallets of roofing shingles into the back of the open

U-Haul truck with the assistance of the Home Depot employees. I am aware that the credit card

ending in 4622 was closed by Citi Bank for fraud in July of 2021.

        54.      At approximately 1:37pm and 2:21pm, two outgoing calls were made to the

phone number 401-867-0535 7. At approximately 2:35pm, I received GPS coordinates indicating

that the target phone was within 21 meters of 126 Bracken Street, in Cranston, RI 8.



6
  According to records provided by TextNow, the phone number 978-533-5510 was subscribed to username
"dennis2142" from May 12 to June 2, 2020
7
  The phone number 401-867-0535 is a MetroPCS tracphone that has been active since September 25, 2019. This
phone number, along with Juan Noboa, an individual with which this phone number is associated, will be discussed
later in this affidavit.

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        55.      At approximately 4:35pm, I received GPS coordinates indicating that the target

phone was within 28 meters of the Home Depot located in West Roxbury, MA. With the

assistance of Investigator DeMelo, I learned that a suspicious order (number H2677-98822) was

placed under the name “Hector Cancell” with a provided phone number of 508-644-0944. The

order consisted of roofing shingles and other building materials, totaling $4,909.71, paid for

utilizing Home Depot store credit card ending in 4622. I reviewed the video surveillance footage

provided by Home Depot and observed MACHUCA with a neon green vest with the words

“Loyalty Roofing Solutions” on the back, entering the store. I also observed a U-Haul van

parked by the loading dock entrance, and MACHUCA approaching it to direct the Home Depot

employees to load four pallets of roofing shingles into the back. At one point, it appeared as if

MACHUCA was talking with someone via video chat on his phone while waiting for the U-Haul

to be filled. As previously stated in this affidavit, I am aware that credit card ending in 4622 was

closed by Citi Bank for fraud in July of 2021.

        56.      At approximately 7:24pm, two incoming calls were made from phone number

401-867-0535 that lasted three seconds and one minute, forty-five seconds, respectively. At

approximately 7:55pm, four calls were made to and from phone number 401-678-2102. At

7:58pm, one incoming call was made from 401-867-0535 that lasted fifty-seven (57) seconds. At

8:00pm and 8:02pm, two calls were made to and from phone number 401-678-2102 that lasted

nineteen seconds and fifty-seven (57) seconds, respectively. At 8:05pm and 8:07pm, two calls




8
  MACHUCA and others have been observed at this residence previously by agents dropping off materials picked up
from Home Depot.


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were made to and from phone number 401-867-0535 that lasted fifteen and nineteen seconds,

respectively.

           57.     At approximately 8:05pm, I received GPS coordinates indicating that the target

phone was within 28 meters of 126 Bracken Street, in Cranston, RI. At approximately 9:05pm

and 9:20pm, I received GPS coordinates indicating that the target phone was within 21 and 18

meters, respectively, of 23 Massie Street, in Providence, RI 9.

           58.     At 8:14pm and 8:15pm, two outgoing calls were made to 401-867-0535 that

lasted thirty-one seconds, and one minute, and forty-eight seconds, respectively. This telephone

number is listed to a MetroPCS prepaid Tracphone but has been provided by Juan NOBOA to

the Cranston Police as a contact telephone number for NOBOA.

           59.     On June 17, 2021 at approximately 9:35pm, I received GPS coordinates

indicating that the target phone was within 21 meters of the Althea Street and Cranston Street

intersection in Providence, RI. As discussed above, law enforcement has observed a vehicle

regularly operated by MACHUCA at 149-151 Althea Street, which I believe to be the residence

of MACHUCA.

           60.     At 9:51pm, one incoming phone call was made from 401-867-0535 that lasted

forty-seven seconds. Which I have concluded establishes additional contact between

MACHUCA and NOBOA.

           61.     Investigators queried Rhode Island's Cross Agency Contact Check, and the Rhode

Island's Business Corporation Database and learned that Juan Noboa (DOB XX/XX/1973) lists

his residential address as 126 Bracken Street in Cranston, Rhode Island. Law enforcement



9
    ROMERO and others have been observed at this residence previously by law enforcement.

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database searches of Noboa have revealed previous charges of felony assault, manufacturing,

possession, and delivering a schedule V substance, and resisting arrest. On June 11, 2019 and

October 14, 2020, Cranston PD reported contact with Noboa, listing his provided phone number

as 401-867-0535. I caused a subpoena to be served to MetroPCS for the phone number 401-867-

0535. I learned that there was no subscriber name provided, and that the phone number is a

tracphone that has been active since September 25, 2019.

       62.     On June 21, 2021 at approximately 10:59am, I drove past 126 Bracken Street in

Cranston, RI, and took photos of the residence including the detached, multi-car garage. I

observed the garage door not fully closed, with stacks of roofing shingles on the ground inside. I

provided a photo to Investigator DeMelo for product verification, who confirmed that the roofing

shingles inside the garage were from The Home Depot.

       63.     On June 22, 2021, a surveillance was conducted in the area of Althea Street and

Cranston Street in Providence, RI. I observed a silver-blue Honda Odyssey with RI tag OC-268

parked in the driveway of 149-151 Althea Street. This vehicle has been observed by law

enforcement and Home Depot video surveillance footage as being operated by MACHUCA on

numerous occasions and is registered to ROMERO as discussed earlier in this affidavit.

       64.     On July 28, 2021, TFO Corser drove past 126 Bracken Street in Cranston, RI and

took a photo of the residence, including the detached, multi-car garage. He observed the garage

door fully open, with a large stack of roofing shingles on the ground inside.

                              GARCIA’s Home Depot Pro Account

       65.     On June 24, 2021, I received records relating to GARCIA’s Home Depot Pro

account from Home Depot. GARCIA’s account spans from September of 2019 to September of

2020, with each purchase conducted utilizing Home Depot Store credit card ending in 3661. The

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Home Depot customer profile is under the name of “Luiyi Taveras”, with a listed address of 440

Park Ave in Cranston, RI. The provided email address is abelbier@gmail.com and the provided

phone numbers are 401-601-0294 (primary) and 917-558-4346 (secondary).

       66.     I caused a subpoena to be served to Google regarding the abelbier@gmail.com

account. I reviewed the records and learned that the email account was created on June 6, 2013

under the name “abel moises bier romero”. The recovery phone number provided is 917-558-

4346, and the recovery email is bierabel@gmail.com.

       67.     GARCIA’s last recorded Home Depot purchase using his own Home Depot

account was conducted on September 14, 2020, totaling $17.69, paid for utilizing a debit card

ending in 3991. This Visa debit card was used consistently for all fifty of the transactions

conducted under this account. The earliest fraudulent transaction identified by Home Depot

occurred on September 14, 2020 at approximately 6:24pm. The order (number H4282-99263)

totaling $4,657.89, was placed under the name “Randy Ramirez” with a provided phone number

of 413-323-3224 and email address of fast79-mgar@yahoo.com. The order was paid for utilizing

Home Depot credit card ending in 8793. On October 11, 2021, MACHUCA is captured by

Home Depot video surveillance footage with a white dump truck similar to the one associated

with LTG Friends Construction, picking up two orders in Worchester, MA and Bellingham, MA

placed utilizing the same credit card ending in 8793.

       68.     I reviewed the Citibank records relating to Home Depot store credit card ending

in 8793 and found that the card was registered to a legitimate victim out of Delaware referred to

as J.F. On October 20, 2020, J.F. spoke with CitiBank representatives regarding an unauthorized

purchase, stating that they hadn’t used their card in “about a year” and that none of the

transactions that were being charged to the card were authorized.

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       69.     I conducted an open source social media search and discovered GARCIA’s LTG

Friends Construction Facebook page. The page was created on June 18, 2018 and provides a

contact phone number of 401-601-0294 and email address of

luiyiltgfriendsconstruction@gmail.com. I have found that despite GARCIA’s above-described

Home Depot Pro account inactivity since September 14, 2020, LTG Friends Construction has

published posts from September 29, 2020 to April 22, 2021, indicating active construction

activity. On December 24, 2020, the LTG Construction page posted five photos location tagged

in Providence, Rhode Island. The photos showed three men working on a roof of a private

residence, yellow in color. One of the photos depict several bundles of roofing shingles with the

words “GAF TimberlineHDZ High Definition Weath Wood” on them.

       70.     Prior to this Facebook post, on December 18, 2020 at approximately 11:15am, a

fraudulent transaction occurred at the Home Depot located in Brockton, MA. The order (number

H2611-74377) was placed under the name “Jose Ramirez”, with a provided phone number of

978-786-4331 and email address of ramirezinversiones14@yopmail.com. The order consisted of

57 bundles of Timberline HDZ Weathered Wood Algae Resistant Laminated High Definition

Singles, and other roofing materials, totaling $2,006.18, paid for utilizing Home Depot store

credit card ending in 0937. I reviewed the video surveillance footage provided by Home Depot

and observed ROMERO along with an unidentified man in the store facilitating the transaction

and picking up the roofing materials. The video surveillance footage further captures the

materials being loaded into a white dump truck that ROMERO is seen later away from the store.

I am aware that Home Depot store credit card ending in 0937 was closed for fraudulent activity

on or around December 18, 2020, after the card holder verified to CitiBank employees that the

recent purchases at Home Depot were not authorized.

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                                     Activity relating to 401-678-2102

           71.     During the course of this investigation, I have found that on numerous occasions,

the phone number 401-678-2102 has been provided by ROMERO and in conjunction with

records relating to ROMERO. As detailed in the paragraphs above, ROMERO has provided U-

Haul with the phone number 401-678-2102 on his rental contracts. In records provided by

TextNow, eight different phone numbers that have been used as contact numbers that I have

linked to fraudulent Home Depot purchases that have either contacted or have been contacted by

the phone number associated with ROMERO, 401-678-2102. These TextNow numbers are

linked to approximately $124,418.71 in identified loss thus far.

            Regarding the GPS Tracking Warrant and Pen Register Trap and Trace Order

           72.     I reviewed the results of the PRTT order on MACHUCA’s phone number 774-

707-7518 and learned that from June 13 to August 3, 2021, MACHUCA has been in contact or

contacted by ROMERO one hundred and sixty-nine (169) times, GARCIA one hundred and ten

(110) times, and Noboa sixty-two (62) times.

           73.     Of the over $600,000 in fraudulent transactions identified in this scheme to date,

approximately $56,000 have been identified thus far as placed with MACHUCA’s aliases and

the phone number 774-707-7518. An additional $47,900 of the fraudulent orders identified have

been placed with various other names and contact information but have been picked up by

MACHUCA with others.

           74.     I reviewed the TextNow records of the phone numbers used to place the

fraudulent orders with Home Depot and learned that three different TextNow phone numbers 10



10
     These phone numbers are 978-607-1839, 978-364-9283, and 978-447-9934.

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either contacted or have been contacted by the phone number associated with LTG Friends

Construction, 401-601-0294. These phone numbers are used consistently in conjunction with

three different email addresses 11. Based upon my review of records supplied by Home Depot, I

have linked, these TextNow numbers and email addresses to approximately $57,671.66 in

identified loss. Of these orders linked by TextNow numbers and email addresses, 13 different

victim Home Depot store credit card numbers were used, with video surveillance footage

capturing MACHUCA picking up and facilitating transactions on October 11, 2020 in

Bellingham, MA, November 24, 2020 in Johnston, RI, December 3, 2020 in Worcester, MA, and

December 16, 2020 in Waltham, MA. In relation to the above orders, Home Depot video

surveillance footage has also captured GARCIA picking up building materials on January 20,

2021 in Johnston, RI, as well as the LTG Friends Construction white dump truck being utilized

to pick up orders on October 27, 2020 (discussed in paragraph 33 of this affidavit) in Natick,

MA, and on November 2, 2020 in Auburn, MA.

        75.     Based on my training and experience and the facts of the investigation, there is

probable cause to believe that MACHUCA, GARCIA, and ROMERO are actively engaged in a

conspiracy to commit wire fraud as well as other federal crimes. GARCIA and ROMERO have

both leveraged vehicles associated with his name or his businesses in furtherance of the crime.

MACHUCA and ROMERO have both rented U-Haul vehicles in furtherance of the crime, with

MACHUCA providing false identification to do so, and have facilitated on multiple occasions

the pick-up of the fraudulently obtained building materials. MACHUCA has also provided a

phone number and email address associated with one of his aliases on multiple occasions.


11
  These email addresses are ramirezinversiones4@yopmail.com, ramirezinversiones5@yopmail.com, and
ramirezinversiones7@yopmail.com.

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MACHUCA, GARCIA, and ROMERO are each in regular contact with other members of this

fraud scheme, both known and unknown, during times in which fraudulent activity is occurring.

                                          CONCLUSION

       76.     Based on the foregoing, there is probable cause to believe that the federal criminal

statutes cited herein have been violated. I respectfully request that this Court issue criminal

complaints and an arrest warrants for GARCIA, MACHUCA and ROMERO for violations of 18

U.S.C. § 1349, 18 U.S.C. § 1343 and 18 U.S.C. § 1028A.




  Special Agent Michaela Gneco




         Attested to by the applicant by telephone
            August 16, 2021
   ______________________                     __________________________________
          Date                                      Judge’s signature
        Providence RI                                Lincoln D Almond USMJ
   ______________________                     __________________________________
        City and State                                    Printed name and title




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